     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 1 of 44




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 6                               UNITED STATES DISTRICT COURT

 7                            NORTHERN DISTRICT OF CALIFORNIA

 8                                    SAN FRANCISCO DIVISION

 9

10
     MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
11   themselves and all others similarly situated,
                                                     [PROPOSED] ORDER REGARDING
12                                 Plaintiffs,       OMNIBUS MOTION TO SEAL
            v.                                       MATERIALS SUBMITTED IN
13                                                   CONNECTION WITH CLASS
     META PLATFORMS, INC., a Delaware                CERTIFICATION AND DAUBERT
14
     Corporation headquartered in California,        BRIEFING
15
                                   Defendant.        Judge: Hon. James Donato
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     No. 3:20-cv-08570-JD                               [PROPOSED] ORDER RE OMNIBUS MOTION
                                                             TO SEAL MATERIALS SUBMITTED IN
                                                              CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 2 of 44




 1          Having considered the Omnibus Motion to Seal Materials Submitted in Connection with

 2   the Class Certification and Daubert Briefing and any materials submitted in support thereto,

 3   pursuant to Local Rule 7-11;

 4          IT IS HEREBY ORDERED:

 5          The following portions of Advertiser Plaintiffs’ (“Advertisers”) Motion for Class

 6   Certification and all relevant exhibits (Dkt. No. 643), Meta Platforms, Inc.’s (“Meta”) Motion to

 7   Exclude Testimony of Scott Fasser and Joshua Gans and all relevant exhibits (Dkt. No. 644), User

 8   Plaintiffs’ (“Users”) Motion for Class Certification and all relevant exhibits (Dkt. No. 648), Users’

 9   Motion to Exclude Portions of the Expert Report and Testimony of Dr. Catherine Tucker and all

10   relevant exhibits (Dkt. No. 649), Meta’s Motion to Exclude Testimony of Nicholas Economides

11   and all relevant exhibits (Dkt. Nos. 650 & 653), Advertisers’ Motion to Exclude Opinions of Dr.

12   Hochberg and all relevant exhibits (Dkt. No. 658), Advertisers’ Motion to Exclude the Expert

13   Report and Testimony of Dr. Catherine Tucker and all relevant exhibits (Dkt. No. 660), Meta’s

14   Motion to Exclude Testimony of Kevin Kreitzman and Michael A. Williams and all relevant

15   exhibits (Dkt. No. 662), Meta’s Opposition to Users’ Motion to Exclude Portions of the Expert

16   Report and Testimony of Dr. Catherine Tucker and all relevant exhibits (Dkt. No. 664),

17   Advertisers’ Opposition to Meta’s Motion to Exclude Testimony of Joshua Gans and all relevant

18   exhibits (Dkt. No. 666), Advertisers’ Opposition to Meta’s Motion to Exclude Testimony of Scott

19   Fasser and all relevant exhibits (Dkt. No. 668), Meta’s Opposition to Users’ Motion for Class

20   Certification and all relevant exhibits (Dkt. No. 670), Meta’s Opposition to Advertisers’ Motion

21   for Class Certification and all relevant exhibits (Dkt. No. 672), Users’ Opposition to Meta’s

22   Motion to Exclude Testimony of Nicholas Economides and all relevant exhibits (Dkt. No. 674),

23   Meta’s Opposition to Advertisers’ Motion to Exclude the Expert Report and Testimony of Dr.

24   Catherine Tucker and all relevant exhibits (Dkt. No. 676), Meta’s Opposition to Advertisers’

25   Motion to Exclude Opinions of Dr. Hochberg and all relevant exhibits (Dkt. No. 678), Advertisers’

26   Opposition to Meta’s Motion to Exclude Testimony of Kevin Kreitzman and Michael A. Williams

27   and all relevant exhibits (Dkt. No. 680), Advertisers’ Reply in Support of Motion for Class

28   Certification and all relevant exhibits (Dkt. Nos. 689, 700), Users’ Reply in Support of Motion for
     No. 3:20-cv-08570-JD                             -1-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                   TO SEAL MATERIALS SUBMITTED IN
                                                                    CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 3 of 44




 1   Class Certification and all relevant exhibits (Dkt. No. 698), Meta’s Reply in Support of Motion to

 2   Exclude Testimony of Nicholas Economides and all relevant exhibits (Dkt. No. 695), Meta’s Reply

 3   in Support of Motion to Exclude Testimony of Scott Fasser and Joshua Gans and all relevant

 4   exhibits (Dkt. No. 684), Users’ Reply in Support of Motion to Exclude Portions of the Expert

 5   Report and Testimony of Dr. Catherine Tucker and all relevant exhibits (Dkt. No. 697), Meta’s

 6   Reply in Support of Motion to Exclude Testimony of Kevin Kreitzman and Michael A. Williams

 7   and all relevant exhibits (Dkt. No. 686), Advertisers’ Reply in Support of Motion to Exclude the

 8   Expert Report and Testimony of Dr. Catherine Tucker and all relevant exhibits (Dkt. No. 682),

 9   Advertisers’ Reply in Support of Motion to Exclude Opinions of Dr. Hochberg and all relevant

10   exhibits (Dkt. No. 691) may be filed under seal:

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     No. 3:20-cv-08570-JD                           -2-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 4 of 44




 1                                           EXPERT REPORTS

 2
       Vanderslice           Portion of Document         Designating
 3                                                                               Ruling
       Decl. Exhibit         Sought to Be Sealed           Party
 4     Advertiser Class Rebuttal Report of Catherine Tucker, filed at Dkt. Nos. 642-6 (Ex. 79),
                            659-5 (Ex. 3), 671-11 (Ex. 10), 675-4 (Ex. 3)
 5
      Exhibit B             ¶ 35, including Exhibits   Meta (Acharya
 6                          3, 4, and 5                Decl. Row 1)
 7    Exhibit B             ¶ 36                       Meta (Acharya
                                                       Decl. Row 2)
 8
      Exhibit B             ¶¶ 38-40, including        Meta (Acharya
 9                          Exhibit 7                  Decl. Row 3)
      Exhibit B             n. 57                      Meta (Acharya
10
                                                       Decl. Row 4)
11    Exhibit B             n. 58                      Meta (Acharya
                                                       Decl. Row 5)
12
      Exhibit B             n. 59                      Meta (Acharya
13                                                     Decl. Row 6)
14    Exhibit B             n. 60                      Meta (Acharya
                                                       Decl. Row 7)
15
      Exhibit B             ¶ 44                       Meta (Acharya
16                                                     Decl. Row 8)
17    Exhibit B             ¶ 45                       Meta (Acharya
                                                       Decl. Row 9)
18
      Exhibit B             Exhibit 10                 Meta (Acharya
19                                                     Decl. Row 10)
      Exhibit B             n. 182                     Meta (Acharya
20
                                                       Decl. Row 11)
21    Exhibit B             ¶ 81, including Exhibit    Meta (Acharya
                            11                         Decl. Row 12)
22
      Exhibit B             ¶ 124                      Meta (Acharya
23                                                     Decl. Row 13)
24    Exhibit B             n. 239, from “The        Meta (Acharya
                            price” through “at -345- Decl. Row 14)
25                          347”
26    Exhibit B             ¶ 127 and footnotes 241    Meta (Acharya
                            and 242                    Decl. Row 15)
27
      Exhibit B             ¶ 130                      Meta (Acharya
28                                                     Decl. Row 16)

     No. 3:20-cv-08570-JD                              -3-    [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                   TO SEAL MATERIALS SUBMITTED IN
                                                                    CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 5 of 44




 1     Vanderslice           Portion of Document       Designating
                                                                                Ruling
       Decl. Exhibit         Sought to Be Sealed         Party
 2
      Exhibit B             ¶ 133                   Meta (Acharya
 3                                                  Decl. Row 17)
 4    Exhibit B             n. 245                  Meta (Acharya
                                                    Decl. Row 18)
 5
      Exhibit B             n. 258-262              Meta (Acharya
 6                                                  Decl. Row 19)

 7    Exhibit B             n. 258                  Netflix (Celedonia
                                                    Decl. ¶ 7)
 8
      Exhibit B             n. 258                  Samsung (Sung
 9                                                  Lee Decl. ¶ 3, Ex.
                                                    A)
10    Exhibit B             n. 259                  Samsung (Sung
11                                                  Lee Decl. ¶ 3, Ex.
                                                    A)
12    Exhibit B             n. 260                  Samsung (Sung
13                                                  Lee Decl. ¶ 3, Ex.
                                                    A)
14    Exhibit B             n. 261                  Samsung (Sung
15                                                  Lee Decl. ¶ 3, Ex.
                                                    A)
16    Exhibit B             n. 262                  Netflix (Celedonia
17                                                  Decl. ¶ 7)
      Exhibit B             Exhibit E-1, p. E-5     Meta (Acharya
18                                                  Decl. Row 20)
19    User Class Rebuttal Report of Catherine Tucker, filed at Dkt. Nos. 645-19, 663-4 (Ex. 5),
                                          669-6 (Ex. 5)
20
      Exhibit C             n. 14                   Users (Scarlett
21                                                  Decl. ¶ 3) (PII)
22    Exhibit C             n. 71                   Users (Scarlett
                                                    Decl. ¶ 3) (PII)
23
      Exhibit C             Text describing and     Microsoft
24                          quoting from MS-        (Flaucher Decl. ¶
                            LIT_0000050344 on       10)
25                          page 42
26    Exhibit C             Citations in footnote   Microsoft
                            101                     (Flaucher Decl. ¶
27                                                  10)
28

     No. 3:20-cv-08570-JD                            -4-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                  TO SEAL MATERIALS SUBMITTED IN
                                                                   CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 6 of 44




 1     Vanderslice           Portion of Document         Designating
                                                                                  Ruling
       Decl. Exhibit         Sought to Be Sealed           Party
 2
      Exhibit C             n. 111                    Users (Scarlett
 3                                                    Decl. ¶ 3) (PII)
 4    Exhibit C             n. 117                    Users (Scarlett
                                                      Decl. ¶ 3) (PII)
 5
      Exhibit C             Text characterizing and   Microsoft
 6                          quoting from MS-          (Flaucher Decl. ¶
                            LIT_0000050344 on         10)
 7                          page 61
 8    Exhibit C             Citations in footnote     Microsoft
                            161                       (Flaucher Decl. ¶
 9                                                    10)
10    Exhibit C             ¶ 84, from “A 2017        Meta (Acharya
                            Ipsos” through the end    Decl. Row 21)
11                          of the paragraph, & n.
                            168-171
12
      Exhibit C             ¶ 85 & n.172              Meta (Acharya
13                                                    Decl. Row 22)
14    Exhibit C             Final sentence of         Amazon (Ross
                            paragraph 114 and the     Decl. ¶ 9)
15                          accompanying footnote
                            241
16
      Exhibit C             p. 86, the sentence that Google (Kim
17                          begins with              Decl. ¶ 8)
                            “Approximately” and
18
                            ends with “to apply”
19                          and the parenthetical in
                            footnote 235 that begins
20                          with “Q.
                            Approximately” and
21                          ends with “yes.”
22    Exhibit C             ¶ 127 & n.269             Meta (Acharya
                                                      Decl. Row 23)
23
      Exhibit C             First sentence of item    Microsoft
24                          (c) on page 98            (Flaucher Decl. ¶
                                                      10)
25
      Exhibit C             n. 276 between “at 385” Snap Inc. (Karin
26                          and “at 387”            Decl. ¶ 10, Ex. 2)

27    Exhibit C             n. 276 from “May 2021 Snap Inc. (Karin
                            […]” through the end of Decl. ¶ 10, Ex. 2)
28                          the footnote.

     No. 3:20-cv-08570-JD                              -5-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                    TO SEAL MATERIALS SUBMITTED IN
                                                                     CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 7 of 44




 1     Vanderslice           Portion of Document          Designating
                                                                                   Ruling
       Decl. Exhibit         Sought to Be Sealed            Party
 2
      Exhibit C             First and second full      Microsoft
 3                          sentences on page 99,      (Flaucher Decl. ¶
                            which characterizes and    10)
 4
                            quotes from
 5                          MS-LIT_0000052626

 6    Exhibit C             Document description       Microsoft
                            and Maker Deposition       (Flaucher Decl. ¶
 7                          quotation in footnote      10)
                            279
 8
      Exhibit C             Citation in footnote       Microsoft
 9                          280, which refers to       (Flaucher Decl. ¶
                            information contained      10)
10                          within
                            MSLIT_0000005810
11
      Exhibit C             Exhibit 4 and notes (p.    Meta (Acharya
12                          121)                       Decl. Row 24)
13    Exhibit C             ¶ 152                      Meta (Acharya
                                                       Decl. Row 25)
14
      Exhibit C             Exhibit 5 and notes (p.    Meta (Acharya
15                          123)                       Decl. Row 26)

16    Exhibit C             n. 385                     Embee Mobile
                                                       (Sgro Decl. ¶ 8)
17    Exhibit C             Final sentence of          Amazon (Ross
18                          paragraph 169(e) and       Decl. ¶ 10)
                            the first eight lines of
19                          the accompanying
                            footnote.
20
      Exhibit C             Last sentence of the       Microsoft
21                          first paragraph on page    (Flaucher Decl. ¶
                            134                        10)
22
      Exhibit C             Quotation from the         Microsoft
23                          Maker Deposition in        (Flaucher Decl. ¶
                            footnote 401               10)
24
      Exhibit C             ¶ 202(c)                   Embee Mobile
25                                                     (Sgro Decl. ¶ 8)

26           Expert Report of Yael Hochberg, filed at Dkt. No. 657-3 (Ex. 1), 677-2 (Ex. 1)
      Exhibit D             ¶ 34, From “that           X Corp. (Mehes
27                          allows” to the end of      Decl. ¶ 3) (dated
28                          the sentence and           November 3,
                            including footnote 34      2023)
     No. 3:20-cv-08570-JD                              -6-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                     TO SEAL MATERIALS SUBMITTED IN
                                                                      CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 8 of 44




 1     Vanderslice           Portion of Document        Designating
                                                                                 Ruling
       Decl. Exhibit         Sought to Be Sealed          Party
 2
      Exhibit D             n. 34 (starting with      Google (Verma
 3                          “Custom” and ending       Decl. ¶ 9)
                            with “capabilities.”)
 4
      Exhibit D             ¶ 50 (between “a code     Meta (Acharya
 5                          base that can grow and    Decl. Row 27)
                            scale the company” and
 6
                            “Therefore, there is
 7                          reason to believe…”)
      Exhibit D             n. 76                     Meta (Acharya
 8
                                                      Decl. Row 28)
 9    Reply Report of Scott Fasser, filed at Dkt. Nos. 642-8 (Ex. B), 646-4 (Ex. 2), 647-4 (Ex. 2),
                                             667-3 (Ex. 2)
10
      Exhibit E             ¶ 4, the final sentence   Meta (Acharya
11                                                    Decl. Row 29)
12    Exhibit E             n. 2                      Meta (Acharya
                                                      Decl. Row 30)
13
      Exhibit E             ¶5                        Meta (Acharya
14                                                    Decl. Row 31)

15    Exhibit E             ¶ 6, after “specific      Meta (Acharya
                            advertisement” through    Decl. Row 32)
16                          end of paragraph.

17    Exhibit E             n. 4                      Meta (Acharya
                                                      Decl. Row 33)
18    Exhibit E             n. 5                      Meta (Acharya
19                                                    Decl. Row 34)
      Exhibit E             n. 6                      Meta (Acharya
20                                                    Decl. Row 35)
21    Exhibit E             n. 8                      Meta (Acharya
                                                      Decl. Row 36)
22
      Exhibit E             n. 9                      Meta (Acharya
23                                                    Decl. Row 37)
24    Exhibit E             n. 10                     Meta (Acharya
                                                      Decl. Row 38)
25
      Exhibit E             n. 11                     Meta (Acharya
26                                                    Decl. Row 39)
      Exhibit E             ¶ 9, from “threshold”     Meta (Acharya
27
                            through the end of the    Decl. Row 40)
28                          paragraph.

     No. 3:20-cv-08570-JD                             -7-    [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                  TO SEAL MATERIALS SUBMITTED IN
                                                                   CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 9 of 44




 1     Vanderslice           Portion of Document           Designating
                                                                                    Ruling
       Decl. Exhibit         Sought to Be Sealed             Party
 2
      Exhibit E             ¶ 10                        Meta (Acharya
 3                                                      Decl. Row 41)
 4    Exhibit E             ¶ 11                        Meta (Acharya
                                                        Decl. Row 42)
 5
      Exhibit E             ¶ 13, between “cites        Meta (Acharya
 6                          agreements with” and        Decl. Row
                            “Prof. Tucker’s             between 42 and
 7                          citations”                  43, row number
                                                        inadvertently left
 8
                                                        blank. See
 9                                                      Acharya Decl. p.
                                                        17)
10
      Exhibit E             ¶ 13, Reference to party    Vanderslice Decl.
11                                                      Ex. A8-b
        Expert Report of Michael A Williams, filed at Dkt. Nos. 642-10 (Ex. A), 646-8 (Ex. 6),
12
      647-8 (Ex. 6), 657-5 (Ex. 7), 659-3 (Ex. 1), 661-2 (Ex. 1), 671-5 (Ex. 4), 675-5 (Ex. 4), 677-4
13                                                (Ex. 3)
      Exhibit F             ¶ 46                        Meta (Acharya
14
                                                        Decl. Row 43)
15    Exhibit F             p. 21, portion of           X Corp. (Mehes
                            footnote 55 (from “A        Decl. ¶ 3) (dated
16
                            Twitter document” to        November 16,
17                          the end of the              2023)
                            sentence.)
18
      Exhibit F             p. 28, ¶ 57 (from “In a     X Corp. (Mehes
19                          2019 presentation” to       Decl. ¶ 3) (dated
                            the end of page             November 16,
20                          including the entirety of   2023)
                            footnote 82)
21
      Exhibit F             p. 29, ¶¶ 57-59 (from       X Corp. (Mehes
22                          start of the page           Decl. ¶ 3) (dated
                            “Facebook, Instagram”       November 16,
23                          to the end of the           2023)
                            paragraph 59 and
24
                            including footnotes 83-
25                          87)
      Exhibit F             p. 30, ¶ 63 (from           X Corp. (Mehes
26
                            “Twitter also” to end of    Decl. ¶ 3) (dated
27                          the sentence and            November 16,
                            including footnote 92)      2023)
28

     No. 3:20-cv-08570-JD                               -8-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                      TO SEAL MATERIALS SUBMITTED IN
                                                                       CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 10 of 44




 1     Vanderslice           Portion of Document           Designating
                                                                                    Ruling
       Decl. Exhibit         Sought to Be Sealed             Party
 2
      Exhibit F             p. 41, ¶¶ 89-90 (from       X Corp. (Mehes
 3                          “Other industry” to the     Decl. ¶ 3) (dated
                            end of the sentence         November 16,
 4
                            ending in “directly with    2023)
 5                          consumers” and
                            including entirety of
 6                          footnotes 131 and 132)
 7    Exhibit F             p. 42, ¶ 93                 Google (Verma
                                                        Decl. ¶ 11)
 8
      Exhibit F             p. 43, ¶ 95 (from “That     X Corp. (Mehes
 9                          social” to the end of the   Decl. ¶ 3) (dated
                            sentence and including      November 16,
10                          the portion of footnote     2023)
                            139 starting with “DX
11                          0812” )
12    Exhibit F             Quotation from MS-          Microsoft
                            LIT_0000058472 in ¶         (Flaucher Decl. ¶
13                          98                          12)
14    Exhibit F             p. 44, ¶ 99                 Google (Verma
                                                        Decl. ¶ 12)
15
      Exhibit F             p. 65, ¶ 155 (from          X Corp. (Mehes
16                          “Both Twitter” to the       Decl. ¶ 3) (dated
                            end of the paragraph        November 16,
17                          and including footnotes     2023)
                            219 and 220)
18
      Exhibit F             p. 65, ¶ 156 (from          Google (Verma
19                          “Google also” to            Decl. ¶ 13)
                            “display.” on page 65,
20
                            and “than Google” to
21                          “audiences.” on page
                            66)
22
      Exhibit F             p. 107, ¶ 239 (from         X Corp. (Mehes
23                          “According to a July        Decl. ¶ 3) (dated
                            2014 Twitter                November 16,
24                          spreadsheet” to the end     2023)
                            of the paragraph and
25                          including footnote 364)
26    Exhibit F             p. 108, ¶ 242 (from “A      X Corp. (Mehes
                            Twitter presentation” to    Decl. ¶ 3) (dated
27                          the end of the paragraph    November 16,
                            and including footnote      2023)
28
                            371)
     No. 3:20-cv-08570-JD                               -9-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                      TO SEAL MATERIALS SUBMITTED IN
                                                                       CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 11 of 44




 1     Vanderslice           Portion of Document          Designating
                                                                                   Ruling
       Decl. Exhibit         Sought to Be Sealed            Party
 2
      Exhibit F             pp. 110-111, ¶ 247         X Corp. (Mehes
 3                          (from “A 2019 Twitter      Decl. ¶ 3) (dated
                            document” to the end of    November 16,
 4
                            the paragraph, Figure      2023)
 5                          20, and the entirety of
                            footnotes 380-382)
 6
      Exhibit F             ¶ 316                      Meta (Acharya
 7                                                     Decl. Row 44)
      Exhibit F             ¶ 317                      Meta (Acharya
 8
                                                       Decl. Row 45)
 9    Exhibit F             p. 155, ¶ 321 (from        X Corp. (Mehes
                            “Discussing its” to the    Decl. ¶ 3) (dated
10                          end of the paragraph       November 16,
                            and including the          2023)
11
                            entirety of footnote
12                          545)
      Exhibit F             pp. 155-156, ¶ 322 and     Google (Verma
13                          n. 546                     Decl. ¶ 14)
14      Reply Report of Michael A. Williams, filed at Dkt. Nos. 642-10 (Ex. B), 657-7 (Ex. 9),
                     659-7 (Ex. 5), 661-3 (Ex. 2), 671-7 (Ex. 6), 675-10 (Ex. 9)
15
      Exhibit G             p. 16, Table 1 (from “A    X Corp. (Mehes
16                          July 2014” to the end of   Decl. ¶ 3) (dated
                            the row at “00002394”)     November 16,
17                                                     2023)
18    Exhibit G             p. 17, Table 1 (from “In   X Corp. (Mehes
                            a 2017 internal” to the    Decl. ¶ 3) (dated
19                          end of the row at          November 16,
                            “00023144”)                2023)
20
      Exhibit G             p. 18, Table 1 (from “A    X Corp. (Mehes
21                          Twitter Core” to the       Decl. ¶ 3) (dated
                            end of the row at          November 16,
22
                            “000582289”)               2023)
23    Exhibit G             p. 18, Table 1 (from “In   X Corp. (Mehes
                            a November 2019” to        Decl. ¶ 3) (dated
24
                            the end of the row at      November 16,
25                          “00058347”; from “An       2023)
                            internal Twitter report”
26                          to the end of the row
                            “00048858-862”)
27
      Exhibit G             p. 19, text in the first   Google (Verma
28                          column, second row of      Decl. ¶ 15)

     No. 3:20-cv-08570-JD                              -10-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                     TO SEAL MATERIALS SUBMITTED IN
                                                                      CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 12 of 44




 1     Vanderslice           Portion of Document          Designating
                                                                                   Ruling
       Decl. Exhibit          Sought to Be Sealed           Party
 2
                            the chart beginning
 3                          with “A November”
                            and ending with “with
 4                          Google.”
 5    Exhibit G             ¶ 52, between “her         Meta (Acharya
                            claim is that” and         Decl. Row 46)
 6                          “Thus, Dr. Tucker’s”
                            and n. 36
 7
      Exhibit G             p. 22, ¶ iv (from “In      X Corp. (Mehes
 8                          discussing antitrust” to   Decl. ¶ 3) (dated
                            the end of the paragraph   November 16,
 9
                            and including footnote     2023)
10                          40)
      Exhibit G             n. 48                      Meta (Acharya
11
                                                       Decl. Row 47)
12    Exhibit G             ¶ 132 n. 151               Meta (Acharya
                                                       Decl. Row 48)
13
      Expert Report of Joshua Gans, filed at Dkt. Nos. 642-14 (Ex. A), 646-4 (Ex. 4), 647-6 (Ex.
14            4), 659-4 (Ex. 2), 661-8 (Ex. 7), 665-2 (Ex. 1), 671-8 (Ex. 7), 675-8 (Ex. 7)
15    Exhibit H             ¶ 62                       Meta (Acharya
                                                       Decl. Row 49)
16
      Exhibit H             ¶ 66                       Meta (Acharya
17                                                     Decl. Row 50)

18    Exhibit H             ¶ 67, between              Meta (Acharya
                            “indicates that” and “A    Decl. Row 51)
19                          Snapchat executive”

20    Exhibit H             ¶ 68                       Meta (Acharya
                                                       Decl. Row 52)
21
      Exhibit H             ¶ 82, after “appears at    Meta (Acharya
22                          PALM-002014263”            Decl. Row 53)
                            through end of
23                          paragraph

24    Exhibit H             ¶ 83, first sentence       Meta (Acharya
                                                       Decl. Row 54)
25    Exhibit H             ¶ 90                       Meta (Acharya
26                                                     Decl. Row 55)
      Exhibit H             ¶ 103                      Meta (Acharya
27                                                     Decl. Row 56)
28

     No. 3:20-cv-08570-JD                              -11-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                     TO SEAL MATERIALS SUBMITTED IN
                                                                      CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 13 of 44




 1     Vanderslice           Portion of Document         Designating
                                                                                 Ruling
       Decl. Exhibit         Sought to Be Sealed           Party
 2
      Expert Report of Nicholas Economides, filed at Dkt. Nos. 645-5, 651-4 (Ex. 1), 652-3 (Ex.
 3                                1), 663-2 (Ex. 1), 669-7 (Ex. 6)
 4    Exhibit I             n. 125 from the phrase    Nextdoor
                            “For example” to the      Holdings, Inc.
 5                          word “competition”        (Wolfgang Decl. ¶
                                                      4)
 6
      Exhibit I             ¶ 141 (quoted text in     TikTok (Solow
 7                          the last sentence)        Decl. ¶ 4)
 8    Exhibit I             Portion of Page 45, n.    TikTok (Solow
                            156, descriptions for the Decl. ¶ 4)
 9                          following Bates stamps:
                            TIK-00000001–024;
10
                            TIK- 00000103–142;
11                          TIK-00000143–153;
                            TIK-00000083–102;
12                          TIK-00000401–455;
                            TIK-00000025–055
13
      Exhibit I             Portion of Page 45, n.    TikTok (Solow
14                          156; quoted text from     Decl. ¶ 4)
                            TIK-00000143–153 at
15                          144
16    Exhibit I             Portion of Page 45, n.    TikTok (Solow
                            156; quoted text from     Decl. ¶ 4)
17                          TIK-00000083–102 at
                            092
18
      Exhibit I             Portion of Page 45, n.    TikTok (Solow
19                          156; quoted text from     Decl. ¶ 4)
                            TIK-00000001–024 at
20
                            009
21    Exhibit I             Portion of Page 46, n.    TikTok (Solow
                            158 (last sentence in the Decl. ¶ 4)
22
                            quoted parenthetical)
23    Exhibit I             Portion of Page 46, ¶     TikTok (Solow
                            144 (quoted text in the   Decl. ¶ 4)
24
                            second sentence
25                          followed by “TikTok’s
                            parent ByteDance
26                          stated”)
27    Exhibit I             Portion of Page 46, n.    TikTok (Solow
                            159, description for      Decl. ¶ 4)
28

     No. 3:20-cv-08570-JD                             -12-    [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                   TO SEAL MATERIALS SUBMITTED IN
                                                                    CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 14 of 44




 1     Vanderslice           Portion of Document          Designating
                                                                                   Ruling
       Decl. Exhibit         Sought to Be Sealed            Party
 2
                            TIK-00000001-24 at 8-
 3                          10, 21
 4    Exhibit I             Portion of Page 52, n.     TikTok (Solow
                            208, description for       Decl. ¶ 4)
 5                          TIK-00000001 at TIK-
                            00000011
 6
      Exhibit I             ¶ 165 (from “For         Pinterest (Roberts
 7                          example” to the end of   Decl. ¶ 3)
                            the paragraph and
 8                          including footnote 207.)
 9    Exhibit I             ¶ 167 from the phrase      Nextdoor
                            “Flora Hsu of              Holdings, Inc.
10                          Nextdoor” to the word      (Wolfgang Decl. ¶
                            “apps”                     4)
11
      Exhibit I             Quotation from the         Microsoft
12                          Maker Deposition in        (Flaucher Decl. ¶
                            paragraph 169              11)
13
      Exhibit I             ¶ 175, the employee's      X Corp. (Mehes
14                          name in footnotes 229      Decl. ¶ 3) (dated
                            and 230                    November 3,
15
                                                       2023)
16    Exhibit I             ¶ 177, from “Indeed” to    X Corp. (Mehes
                            the end of the paragraph   Decl. ¶ 3) (dated
17
                            and including the          November 3,
18                          employee's name in         2023)
                            footnote 231 and the
19                          entirety of footnote 232
20    Exhibit I             ¶ 178, from “As [the       X Corp. (Mehes
                            employee's name]” to       Decl. ¶ 3) (dated
21                          the end                    November 3,
                            of the paragraph and       2023)
22
                            including footnote 233
23    Exhibit I             ¶ 180, from “Twitter       X Corp. (Mehes
                            itself” to “open           Decl. ¶ 3) (dated
24
                            ecosystem” and             November 3,
25                          including footnotes 236    2023)
                            and 237
26
      Exhibit I             ¶ 180, from “Similarly,    X Corp. (Mehes
27                          a Twitter” to the end of   Decl. ¶ 3) (dated
                            the paragraph and          November 3,
28                          including the              2023)

     No. 3:20-cv-08570-JD                              -13-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                     TO SEAL MATERIALS SUBMITTED IN
                                                                      CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 15 of 44




 1     Vanderslice           Portion of Document           Designating
                                                                                    Ruling
       Decl. Exhibit          Sought to Be Sealed            Party
 2
                            employee's name in
 3                          footnote 240 and the
                            entirety of footnotes
 4                          242, 243, and 244
 5    Exhibit I             ¶ 184, from “Indeed” to     X Corp. (Mehes
                            the end of the paragraph    Decl. ¶ 3) (dated
 6                          and including footnote      November 3,
                            253                         2023)
 7
      Exhibit I             ¶ 185 from the phrase       Nextdoor
 8                          “Flora Hsu—                 Holdings, Inc.
                            Nextdoor’s corporate        (Wolfgang Decl. ¶
 9
                            representative” to the      4)
10                          words “‘social graph’”
      Exhibit I             n. 256, entire              Nextdoor
11
                            parenthetical quoting       Holdings, Inc.
12                          Ms. Hsu’s deposition        (Wolfgang Decl. ¶
                            beginning with “(Q.         4)
13                          Okay. . .” to the closing
                            of the parenthesis
14
      Exhibit I             ¶ 194 from the phrase       Nextdoor
15                          “Flora Hsu—                 Holdings, Inc.
                            Nextdoor’s corporate        (Wolfgang Decl. ¶
16                          representative” to          4)
                            “oftentimes”
17
      Exhibit I             ¶ 195, n. 272 (from         Pinterest (Roberts
18                          “Julia Roberts Tr.” to      Decl. ¶ 3)
                            “a social network…’);”
19
      Exhibit I             ¶ 196 (entire paragraph     Pinterest (Roberts
20                          and including footnote      Decl. ¶ 3)
                            273)
21
      Exhibit I             ¶ 197 (from “Again,      Pinterest (Roberts
22                          Pinterest” to the end of Decl. ¶ 3)
                            the paragraph and
23
                            including footnote 274.)
24    Exhibit I             ¶ 198 (from “While          Pinterest (Roberts
                            Pinterest” to the end of    Decl. ¶ 3)
25
                            the paragraph and
26                          including footnote 275)
      Exhibit I             ¶ 199 (from “In a           Pinterest (Roberts
27
                            competition-related” to     Decl. ¶ 3)
28                          “our product.’” and

     No. 3:20-cv-08570-JD                               -14-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                      TO SEAL MATERIALS SUBMITTED IN
                                                                       CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 16 of 44




 1     Vanderslice           Portion of Document           Designating
                                                                                   Ruling
       Decl. Exhibit          Sought to Be Sealed            Party
 2
                            including footnotes 276
 3                          and 277)
 4    Exhibit I             ¶ 202 from the word         Nextdoor
                            “Nextdoor” to “you”         Holdings, Inc.
 5                                                      (Wolfgang Decl. ¶
                                                        4)
 6
      Exhibit I             ¶ 203 from the word         Nextdoor
 7                          “Nextdoor’s” to the         Holdings, Inc.
                            phrase “‘social graph’”     (Wolfgang Decl. ¶
 8                                                      4)
 9    Exhibit I             ¶ 204 from the phrase       Nextdoor
                            “Nextdoor’s corporate       Holdings, Inc.
10                          representative” to          (Wolfgang Decl. ¶
                            “Snapchat.”                 4)
11
      Exhibit I             Characterization of MS- Microsoft
12                          LIT_0000050344, a       (Flaucher Decl. ¶
                            Microsoft internal      11)
13
                            survey, in paragraph
14                          367
      Exhibit I             n. 558, which quotes        Microsoft
15
                            from MS-LIT-                (Flaucher Decl. ¶
16                          0000050344                  11)
      Exhibit I             Section X.D.2               Meta (Acharya
17
                                                        Decl. Row 57)
18    Exhibit I             Characterization of and     Microsoft
                            quotation from MS-          (Flaucher Decl. ¶
19
                            LIT_0000014792, a           11)
20                          Microsoft internal
                            strategy presentation, in
21                          paragraph 399
22    Exhibit I             Portion of n. 627 that      Microsoft
                            identifies the source of    (Flaucher Decl. ¶
23                          the quotation in            11)
                            paragraph 399
24
      Exhibit I             ¶ 431                       Embee Mobile
25                                                      (Sgro Decl. ¶ 7)

26     Reply Report of Nicholas Economides, filed at Dkt Nos. 645-6, 651-5 (Ex. 2), 652-4 (Ex.
                                 2), 663-5 (Ex. 4), 669-14 (Ex. 13)
27
      Exhibit J             ¶ 92                        Meta (Acharya
28                                                      Decl. Row 58)

     No. 3:20-cv-08570-JD                               -15-    [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                     TO SEAL MATERIALS SUBMITTED IN
                                                                      CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 17 of 44




 1     Vanderslice          Portion of Document      Designating
                                                                              Ruling
       Decl. Exhibit        Sought to Be Sealed        Party
 2
      Exhibit J             ¶ 113                 Meta (Acharya
 3                                                Decl. Row 59)
 4    Exhibit J             ¶ 130                 Meta (Acharya
                                                  Decl. Row 60)
 5
      Exhibit J             ¶ 190                 Meta (Acharya
 6                                                Decl. Row 61)

 7                      Reply Report of Sarah Lamdan, filed at Dkt. Nos. 645-11
      Exhibit K             ¶ 28                  Meta (Acharya
 8
                                                  Decl. Row 62)
 9

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     No. 3:20-cv-08570-JD                         -16-   [PROPOSED] ORDER RE OMNIBUS MOTION
                                                              TO SEAL MATERIALS SUBMITTED IN
                                                               CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 18 of 44




 1                      DEPOSITION TRANSCRIPTS (Economides & Tucker)

 2
       Vanderslice          Portion of Document      Designating
 3                                                                              Ruling
       Decl. Exhibit        Sought to Be Sealed        Party
 4     Transcript of Deposition of Nicholas Economides, filed in full at Dkt. No. 673-4 (Ex. 14),
                and excerpts thereof filed at Dkt. Nos. 651-6 (Ex. 3) and 652-5 (Ex. 3)
 5
      Exhibit L             59:8-14               Meta (Acharya
 6                                                Decl. Row 63)
 7    Exhibit L             93:9-20               Meta (Acharya
                                                  Decl. Row 64)
 8
      Exhibit L             106:10-107:8          Meta (Acharya
 9                                                Decl. Row 65)
      Exhibit L             110:15-25             Meta (Acharya
10
                                                  Decl. Row 66)
11    Exhibit L             274:21-278:7          Users (Scarlett
                                                  Decl. ¶ 3)
12
                                                  (Irrelevant
13                                                personal beliefs)
        Transcript of User Plaintiffs’ Deposition of Catherine Tucker, filed in full at Dkt. No.
14
                645-15 (Ex. 75), and excerpts thereof filed at Dkt. No. 673-9 (Ex. 13)
15    Exhibit M             6:20-21               Meta (Acharya
                                                  Decl. Row 67)
16
      Exhibit M             204:14-22             Meta (Acharya
17                                                Decl. Row 68)
18    Exhibit M             205:5-13              Meta (Acharya
                                                  Decl. Row 69)
19
      Exhibit M             206:18-207:13         Meta (Acharya
20                                                Decl. Row 70)

21    Exhibit M             208:24-209:10         Meta (Acharya
                                                  Decl. Row 71)
22
      Exhibit M             209:21-25             Meta (Acharya
23                                                Decl. Row 72)
      Exhibit M             299:20-301:14         Meta (Acharya
24
                                                  Decl. Row 73)
25                                                (Exhibit name
                                                  mis-transcribed as
26                                                “ExhACTIVEUS
                                                  201812827v.6ibit
27                                                M” in Acharya
                                                  Decl. Row 73)
28

     No. 3:20-cv-08570-JD                         -17-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 19 of 44




 1                                        OTHER FILINGS

 2
              Vanderslice   Document or Portion of
 3    Dkt.                                                 Designating
                Decl.       Document Sought to Be                                Ruling
      No.                                                    Party
 4             Exhibit            Sealed
      Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Motion for Class
 5                   Certification and Supporting Documents (Dkt. No. 642)
 6    642-    Exhibit N1    Advertisers’ Motion for        Meta
      1                     Class Certification,           (Acharya
 7                          between “Ex. 8 at 331”         Decl. Row
 8                          and “with Ex. 9”.              74)
      642-    Exhibit N2    Exhibit 1, PX-2256             Meta
 9    3                     Zuckerberg Deposition          (Acharya
10                          (Volume 1 Exhibits)            Decl. Row
                                                           75)
11    642-    Exhibit N3    Exhibit 2, PX-0414             Meta
12    3                     Olivan Deposition              (Acharya
                            (Volume 1 Exhibits)            Decl. Row
13                                                         76)

14    642-    Exhibit N3    Exhibit 2, PX-0414             Meta
      3                     Olivan Deposition              (Acharya
15                          (Volume 1 Exhibits),           Decl. Row
                            email addresses of Meta        77)
16                          employees
17    642-    Exhibit N4    Exhibit 4, PX-2862 Priell      Meta
      3                     Deposition (Volume 1           (Acharya
18                          Exhibits)                      Decl. Row
                                                           78)
19
      642-    Exhibit N5    Exhibit 6, PX-0020 Patel       Meta
20    3                     Deposition (Volume 1           (Acharya
                            Exhibits)                      Decl. Row
21                                                         79)
22    642-    Exhibit N6    Exhibit 8, PX-0557             Meta
      3                     Schultz Deposition             (Acharya
23                          (Volume 1 Exhibits), at        Decl. Row
24                          PALM-01460331-332,             80)
                            under heading ‘Davos
25                          Meetings’

26    642-    Exhibit N6    Exhibit 8, PX-0557             Meta
      3                     Schultz Deposition             (Acharya
27                          (Volume 1 Exhibits),           Decl. Row
                            Pages PALM-01460333-           81)
28                          338 (after “MEETINGS”)

     No. 3:20-cv-08570-JD                           -18-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                  TO SEAL MATERIALS SUBMITTED IN
                                                                   CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 20 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                Designating
                Decl.       Document Sought to Be                               Ruling
 2    No.                                                   Party
               Exhibit            Sealed
 3    642-    Exhibit N6    Exhibit 8, PX-0557            Meta
      3                     Schultz Deposition            (Acharya
 4
                            (Volume 1 Exhibits),          Decl. Row
 5                          email addresses of Meta       82)
                            employees
 6
      642-    Exhibit N7    Exhibit 14, PX-1317           Meta
 7    3                     Chang Deposition              (Acharya
                            (Volume 1 Exhibits)           Decl. Row
 8                                                        83)
 9    642-    Exhibit N8    Exhibit 16, PX-1322           Meta
      3                     Chang Deposition              (Acharya
10                          (Volume 1 Exhibits)           Decl. Row
                                                          84)
11
      642-    Exhibit N9    Exhibit 19 (Volume 1          Meta
12    3                     Exhibits), Pages -856-858     (Acharya
                            (between “Section 2” and      Decl. Row
13                          “Section 3”)                  85)
14    642-    Exhibit N9    Exhibit 19 (Volume 1          Meta
      3                     Exhibits), page PALM-         (Acharya
15                          012438858, “Section 3:        Decl. Row
                            Integration Partnerships”     86)
16
      642-    Exhibit N9    Exhibit 19 (Volume 1          Meta
17    3                     Exhibits), page PALM-         (Acharya
                            012438861, from               Decl. Row
18
                            “Integration                  87)
19                          Partnerships—
                            Messenger” to
20                          “Integration
                            Partnerships—WhatApp”
21
      642-    Exhibit N9    Exhibit 19 (Volume 1          Meta
22    3                     Exhibits), page PALM-         (Acharya
                            012438865-66, list under      Decl. Row
23                          “messaging functionality      88)
                            of Facebook:”
24
      642-    Exhibit N10   Exhibit 20 (Volume 1          Meta
25    3                     Exhibits)                     (Acharya
                                                          Decl. Row
26
                                                          89)
27    642-    Exhibit N11   Exhibit 21 (Volume 2          Meta
      4                     Exhibits)                     (Acharya
28

     No. 3:20-cv-08570-JD                          -19-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 21 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                 Designating
                Decl.       Document Sought to Be                                Ruling
 2    No.                                                    Party
               Exhibit            Sealed
 3                                                         Decl. Row
                                                           90)
 4
      642-    Exhibit N12   Exhibit 23 (Volume 2           Meta
 5    4                     Exhibits), Page -190           (Acharya
                            (figure in fifth row,          Decl. Row
 6                          second column from             91)
                            right)
 7
      642-    Exhibit N12   Exhibit 23 (Volume 2           Meta
 8    4                     Exhibits), pages PALM-         (Acharya
                            011831167-68, Section 6        Decl. Row
 9
                            “Re-Authorization of           92)
10                          Equity Subcommittee
                            Delegation”
11
      642-    Exhibit N12   Exhibit 23 (Volume 2           Meta
12    4                     Exhibits), pages PALM-         (Acharya
                            011831168-69, Section 7        Decl. Row
13                          “Equity Pool Evergreen         93)
                            Increase”
14
      642-    Exhibit N12   Exhibit 23 (Volume 2           Meta
15    4                     Exhibits), page PALM-          (Acharya
                            011831171                      Decl. Row
16                                                         94)
17    642-    Exhibit N13   Exhibit 25 (Volume 2           Meta
      4                     Exhibits), Page -654           (Acharya
18                          (between “1.” and “My          Decl. Row
                            recommendation”)               95)
19
      642-    Exhibit N13   Exhibit 25 (Volume 2           Meta
20    4                     Exhibits), Page -655           (Acharya
                            (email from Andrew             Decl. Row
21
                            Bosworth)                      96)
22    642-    Exhibit N13   Exhibit 25 (Volume 2           Meta
      4                     Exhibits), email address       (Acharya
23
                            of Meta employees              Decl. Row
24                                                         97)
      642-    Exhibit N14   Exhibit 35 (Volume 2           Meta
25
      4                     Exhibits)                      (Acharya
26                                                         Decl. Row
                                                           98)
27
      642-    Exhibit N15   Exhibit 36 (Volume 2           Meta
28    4                     Exhibits)                      (Acharya

     No. 3:20-cv-08570-JD                           -20-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                  TO SEAL MATERIALS SUBMITTED IN
                                                                   CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 22 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                 Designating
                Decl.       Document Sought to Be                                Ruling
 2    No.                                                    Party
               Exhibit            Sealed
 3                                                         Decl. Row
                                                           99)
 4
      642-    Exhibit N16   Exhibit 38, PX-1926            Meta
 5    4                     Sandberg Deposition            (Acharya
                            (Volume 2 Exhibits)            Decl. Row
 6                                                         100)
 7    642-    Exhibit N17   Exhibit 39, PX-0610            Meta
      4                     Hastings Deposition            (Acharya
 8                          (Volume 2 Exhibits),           Decl. Row
                            Page -295 (between             101)
 9
                            “guess that” and “CPMs
10                          is a reasonable estimate”)
      642-    Exhibit N17   Exhibit 39, PX-0610            Meta
11
      4                     Hastings Deposition            (Acharya
12                          (Volume 2 Exhibits),           Decl. Row
                            email addresses of Meta        102)
13                          employees
14    642-    Exhibit N40   Exhibit 41 (Volume 3           Google
      5                     Exhibits), p. 8, third         (Verma Decl.
15                          column of chart                ¶ 10)
                            identifying “Executive for
16                          Google”
17    642-    Exhibit N40   Exhibit 41 (Volume 3           Google
      5                     Exhibits), p. 31, signature    (Verma Decl.
18                          blocks for Google LLC          ¶ 10)
                            and Google Ireland Ltd.
19
      642-    Exhibit N18   Exhibit 42 (Volume 3           Meta
20    5                     Exhibits)                      (Acharya
                                                           Decl. Row
21
                                                           103)
22    642-    Exhibit N19   Exhibit 43 (Volume 3           Meta
      5                     Exhibits)                      (Acharya
23
                                                           Decl. Row
24                                                         104)
      642-    Exhibit N20   Exhibit 44, PX-1704            Meta
25
      5                     Crum Deposition                (Acharya
26                          (Volume 3 Exhibits)            Decl. Row
                                                           105)
27

28

     No. 3:20-cv-08570-JD                           -21-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                  TO SEAL MATERIALS SUBMITTED IN
                                                                   CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 23 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                               Designating
                Decl.       Document Sought to Be                              Ruling
 2    No.                                                  Party
               Exhibit            Sealed
 3    642-    Exhibit N21   Exhibit 47, PX-1709          Meta
      5                     Crum Deposition              (Acharya
 4
                            (Volume 3 Exhibits)          Decl. Row
 5                                                       106)
      642-    Exhibit N22   Exhibit 48, excerpts from    Meta
 6
      5                     Deposition of Stephanie      (Acharya
 7                          Wang, dated March 28,        Decl. Row
                            2023 (Volume 3 Exhibits)     107)
 8
      642-    Exhibit N23   Exhibit 49, excerpts from    Meta
 9    5                     Deposition of Henry          (Acharya
                            Crum, dated May 25,          Decl. Row
10                          2023 (Volume 3 Exhibits)     108)
11    642-    Exhibit N24   Exhibit 50, PX-1295          Meta
      5                     Jakubowski Deposition        (Acharya
12                          (Volume 3 Exhibits)          Decl. Row
                                                         109)
13
      642-    Exhibit N25   Exhibit 52, PX-1708          Meta
14    5                     Crum Deposition              (Acharya
                            (Volume 3 Exhibits)          Decl. Row
15                                                       110)
16    642-    Exhibit N26   Exhibit 54, PX-1712          Meta
      5                     Crum Deposition              (Acharya
17                          (Volume 3 Exhibits)          Decl. Row
                                                         111)
18
      642-    Exhibit N27   Exhibit 56, PX-1922          Meta
19    5                     Sandberg Deposition          (Acharya
                            (Volume 3 Exhibits)          Decl. Row
20
                                                         112)
21    642-    Exhibit N28   Exhibit 57, PX-1921          Meta
      5                     Sandberg Deposition          (Acharya
22
                            (Volume 3 Exhibits)          Decl. Row
23                                                       113)
      642-    Exhibit N29   Exhibit 60, PX-1713          Meta
24
      5                     Crum Deposition              (Acharya
25                          (Volume 3 Exhibits)          Decl. Row
                                                         114)
26
      642-    Exhibit N30   Exhibit 61, PX-0463          Meta
27    6                     Wang Deposition              (Acharya
                            (Volume 4 Exhibits)          Decl. Row
28                                                       115)

     No. 3:20-cv-08570-JD                         -22-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 24 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                Designating
                Decl.       Document Sought to Be                               Ruling
 2    No.                                                   Party
               Exhibit            Sealed
 3    642-    Exhibit N31   Exhibit 62, PX-0185 Rose Meta
      6                     Deposition (Volume 4     (Acharya
 4
                            Exhibits)                Decl. Row
 5                                                   116)
      642-    Exhibit N32   Exhibit 63, excerpts of       Meta
 6
      6                     Deposition of John David      (Acharya
 7                          Jakubowski, dated April       Decl. Row
                            21, 2023 (Volume 4            117)
 8                          Exhibits)
 9    642-    Exhibit N33   Exhibit 64, PX-0464           Meta
      6                     Wang Deposition               (Acharya
10                          (Volume 4 Exhibits)           Decl. Row
                                                          118)
11
      642-    Exhibit N34   Exhibit 67 (Volume 4          Meta
12    6                     Exhibits)                     (Acharya
                                                          Decl. Row
13                                                        119)
14    642-    Exhibit N35   Exhibit 68 (Volume 4          Meta
      6                     Exhibits)                     (Acharya
15                                                        Decl. Row
                                                          120)
16
      642-    Exhibit N36   Exhibit 69, PX-0119           Meta
17    6                     Parikh Deposition             (Acharya
                            (Volume 4 Exhibits)           Decl. Row
18
                                                          121)
19    642-    Exhibit N37   Exhibit 70, excerpts from     Meta
      6                     Deposition of Jay Parikh,     (Acharya
20
                            dated March 9, 2023           Decl. Row
21                          (Volume 4 Exhibits)           122)
      642-    Exhibit N38   Exhibit 72, excerpts from     Meta
22
      6                     Deposition of Rob             (Acharya
23                          Goldman, dated June 13,       Decl. Row
                            2023 (Volume 4                123)
24                          Exhibits), 26:19-22
25    642-    Exhibit N39   Exhibit 74, excerpts from     Meta
      6                     Deposition of Jonathan        (Acharya
26                          Eide, dated May 9, 2023       Decl. Row
                            (Volume 4 Exhibits)           124)
27

28

     No. 3:20-cv-08570-JD                          -23-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 25 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                Designating
                Decl.       Document Sought to Be                               Ruling
 2    No.                                                   Party
               Exhibit            Sealed
 3

 4
        First Administrative Motion to File Under Seal Consumer Plaintiffs’ Notice of Motion
 5      and Motion for Class Certification and Appointment of Class Counsel (Dkt. No. 645)
 6    645-    Exhibit O1    Consumer Plaintiffs’          Meta
      1                     Notice of Motion and          (Acharya
 7                          Motion for Class              Decl. Row
                            Certification and             125)
 8
                            Appointment of Class
 9                          Counsel, 6:3 (quoting Ex.
                            39)
10            Exhibit O1                                  Meta
      645-                  Consumer Plaintiffs’
      1                     Notice of Motion and          (Acharya
11
                            Motion for Class              Decl. Row
12                          Certification and             126)
                            Appointment of Class
13                          Counsel, 6:7-10
14    645-    Exhibit O1    Consumer Plaintiffs’          Meta
      1                     Notice of Motion and          (Acharya
15                          Motion for Class              Decl. Row
                            Certification and             127)
16
                            Appointment of Class
17                          Counsel, 8:19-21
      645-    Exhibit O1    Consumer Plaintiffs’          Meta
18                                                        (Acharya
      1                     Notice of Motion and
                            Motion for Class              Decl. Row
19
                            Certification and             128)
20                          Appointment of Class
                            Counsel, 11:16-17
21
      645-    Exhibit O1    Consumer Plaintiffs’          Meta
22    1                     Notice of Motion and          (Acharya
                            Motion for Class              Decl. Row
23                          Certification and             129)
                            Appointment of Class
24
                            Counsel, 11:21-12:6, 10-
25                          12
      645-    Exhibit O1    Consumer Plaintiffs’          Meta
26                                                        (Acharya
      1                     Notice of Motion and
27                          Motion for Class              Decl. Row
                            Certification and             130)
28

     No. 3:20-cv-08570-JD                          -24-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 26 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                Designating
                Decl.       Document Sought to Be                               Ruling
 2    No.                                                   Party
               Exhibit                 Sealed
 3                          Appointment of Class
                            Counsel, 13:4-9
 4
      645-    Exhibit O1    Consumer Plaintiffs’          Meta
 5    1                     Notice of Motion and          (Acharya
                            Motion for Class              Decl. Row
 6                          Certification and             131)
                            Appointment of Class
 7                          Counsel, 14:4-5
 8
      645-    Exhibit O1    Consumer Plaintiffs’          Meta
 9    1                     Notice of Motion and          (Acharya
                            Motion for Class              Decl. Row
10                          Certification and             132)
                            Appointment of Class
11                          Counsel, 21:20-26
12
      645-    Exhibit O1    Consumer Plaintiffs’          Meta
13    1                     Notice of Motion and          (Acharya
                            Motion for Class              Decl. Row
14                          Certification and             133)
                            Appointment of Class
15                          Counsel, 22:19-20
16
      645-    Exhibit O2    Exhibit 17, Summary           Meta
17    13                    Chart of Illustrative         (Acharya
                            Examples of Facebook’s        Decl. Row
18                          Deceptive Statements and      134)
                            Omissions, p. 8, between
19                          “Facebook “cookie[s]”
20                          and “off it”; p. 9,
                            “between “Facebook
21                          “cookie[s]” and “off it”

22    645-    Exhibit O2    Exhibit 17, Summary           Meta
      13                    Chart of Illustrative         (Acharya
23                          Examples of Facebook’s        Decl. Row
                            Deceptive Statements and      135)
24                          Omissions, p. 12, between
                            “Moreover, Facebook’s
25                          assurance” and
26                          “backlash”
      645-    Exhibit O2    Exhibit 17, Summary           Meta
27    13                    Chart of Illustrative         (Acharya
28                          Examples of Facebook’s        Decl. Row
                            Deceptive Statements and      136)
     No. 3:20-cv-08570-JD                          -25-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 27 of 44




 1            Vanderslice    Document or Portion of
      Dkt.                                               Designating
                Decl.        Document Sought to Be                             Ruling
 2    No.                                                  Party
               Exhibit                Sealed
 3                          Omissions, pp. 13-14,
                            between “For example, a
 4                          presentation” and
                            “multiple exceptions”
 5
      645-    Exhibit O2    Exhibit 17, Summary          Meta
 6    13                    Chart of Illustrative        (Acharya
                            Examples of Facebook’s       Decl. Row
 7
                            Deceptive Statements and     137)
 8                          Omissions, pp. 15-16,
                            between “For example, a
 9                          presentation” and
                            “multiple exceptions.”
10
      645-    Exhibit O2    Exhibit 17, Summary          Meta
11    13                    Chart of Illustrative        (Acharya
                            Examples of Facebook’s       Decl. Row
12                          Deceptive Statements and     138)
13                          Omissions, pp. 19,
                            between “For example, a
14                          presentation” and
                            “multiple exceptions.”
15
      645-    Exhibit O2    Exhibit 17, Summary          Meta
16    13                    Chart of Illustrative        (Acharya
                            Examples of Facebook’s       Decl. Row
17                          Deceptive Statements and     139)
                            Omissions, pp. 20-21,
18                          between “For example, a
19                          presentation” and
                            “multiple exceptions”
20    645-    Exhibit O2    Exhibit 17, Summary          Meta
21    13                    Chart of Illustrative        (Acharya
                            Examples of Facebook’s       Decl. Row
22                          Deceptive Statements and     140)
                            Omissions, p. 23 between
23                          “But, Facebook’s” and
                            “use it[.]”
24
      645-    Exhibit O3    Exhibit 25, messages sent    Meta
25    13                    at 20:49-20:50               (Acharya
                                                         Decl. Row
26                                                       141)
27    645-    Exhibit O3    Exhibit 25, message sent     Meta
      13                    at 20:54:06                  (Acharya
28

     No. 3:20-cv-08570-JD                         -26-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 28 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                               Designating
                Decl.       Document Sought to Be                              Ruling
 2    No.                                                  Party
               Exhibit            Sealed
 3                                                       Decl. Row
                                                         142)
 4
      645-    Exhibit O3    Exhibit 25, messages sent    Meta
 5    13                    at 20:56:06- 20:56:16        (Acharya
                                                         Decl. Row
 6                                                       143)
 7    645-    Exhibit O3    Exhibit 25, message sent     Meta
      13                    at 20:55:25                  (Acharya
 8                                                       Decl. Row
                                                         144)
 9
      645-    Exhibit O3    Exhibit 25, messages sent    Meta
10    13                    at 20:57:41-20:58:36         (Acharya
                                                         Decl. Row
11
                                                         145)
12    645-    Exhibit O3    Exhibit 25, message sent     Meta
      13                    at 21:01:26                  (Acharya
13
                                                         Decl. Row
14                                                       146)
      645-    Exhibit O3    Exhibit 25, message sent     Meta
15
      13                    at 21:01:32                  (Acharya
16                                                       Decl. Row
                                                         147)
17
      645-    Exhibit O3    Exhibit 25, message sent     Meta
18    13                    at 21:02:30                  (Acharya
                                                         Decl. Row
19                                                       148)
20    645-    Exhibit O4    Exhibit 31, Excerpts from    Meta
      13                    PALM-010069776, -777-        (Acharya
21                          788 (attached slide deck)    Decl. Row
                                                         149)
22
      645-    Exhibit O4    Exhibit 31, Excerpts from    Meta
23    13                    PALM-010069776, email        (Acharya
                            addresses of Meta            Decl. Row
24                          employees                    150)
25    645-    Exhibit O5    Exhibit 35, Excerpts from    Meta
      13                    PALM-011140935, text         (Acharya
26                          under “Analysis              Decl. Row
                            Takeaways”                   151)
27
      645-    Exhibit O6    Exhibit 36, Excerpts from    Meta
28    13                    PALM-012003899               (Acharya
     No. 3:20-cv-08570-JD                         -27-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 29 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                               Designating
                Decl.       Document Sought to Be                              Ruling
 2    No.                                                  Party
               Exhibit            Sealed
 3                                                       Decl. Row
                                                         152)
 4
      645-    Exhibit O7    Exhibit 37                   Meta
 5    13                                                 (Acharya
                                                         Decl. Row
 6                                                       153)
 7    645-    Exhibit O8    Exhibit 38, Pages -183-      Meta
      14                    185                          (Acharya
 8                                                       Decl. Row
                                                         154)
 9
      645-    Exhibit O8    Exhibit 38, email            Meta
10    14                    addresses of Meta            (Acharya
                            employees                    Decl. Row
11
                                                         155)
12    645-    Exhibit O9    Exhibit 39, Excerpts from    Meta
      14                    PALM-012846445               (Acharya
13
                                                         Decl. Row
14                                                       156)
      645-    Exhibit O10   Exhibit 41, Excerpts from    Meta
15
      14                    PALM-012991911, Pages        (Acharya
16                          -912-917 (after “FB App      Decl. Row
                            proposal on privacy &        157)
17                          trust”)
18    645-    Exhibit O10   Exhibit 41, Excerpts from    Meta
      14                    PALM-012991911, email        (Acharya
19                          addresses of Meta            Decl. Row
                            employees                    158)
20
      645-    Exhibit O11   Exhibit 42, Excerpts from    Meta
21    14                    PALM-013003886               (Acharya
                                                         Decl. Row
22                                                       159)
23    645-    Exhibit O12   Exhibit 48                   Meta
      14                                                 (Acharya
24                                                       Decl. Row
                                                         160)
25
      645-    Exhibit O13   Exhibit 54, Excerpts from    Meta
26    14                    PALM-017069195               (Acharya
                                                         Decl. Row
27
                                                         161)
28

     No. 3:20-cv-08570-JD                         -28-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 30 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                   Designating
                Decl.       Document Sought to Be                                  Ruling
 2    No.                                                      Party
               Exhibit            Sealed
 3    645-    Exhibit O14   Exhibit 62, excerpts of          Meta
      15                    Chen Deposition                  (Acharya
 4
                            Transcript, p. 62:7-16           Decl. Row
 5                                                           162)
      645-    Exhibit O14   Exhibit 62, excerpts of          Meta
 6
      15                    Chen Deposition                  (Acharya
 7                          Transcript, Pages 92-105         Decl. Row
                                                             163)
 8
         Administrative Motion to File Under Seal Portions of Meta’s Motion to Exclude the
 9                 Testimony of Scott Fasser and Joshua S. Gans (Dkt. No. 646)
      646-    Exhibit P1    Exhibit 3, excerpt of            Meta
10
      5                     Fasser Deposition                (Acharya
11                          Transcript, 23:20-24:1           Decl. Row
                                                             164)
12
      646-    Exhibit P1    Exhibit 3, excerpt of            Meta
13    5                     Fasser Deposition                (Acharya
                            Transcript, 145:20-146:14        Decl. Row
14                                                           165)

15    646-    Exhibit P1    Exhibit 3, excerpt of            Meta
      5                     Fasser Deposition                (Acharya
16                          Transcript, 148:2-5              Decl. Row
                                                             166)
17
      646-    Exhibit P1    Exhibit 3, excerpt of            Meta
18    5                     Fasser Deposition                (Acharya
                            Transcript, 150:2-7              Decl. Row
19                                                           167)
20    646-    Exhibit P2    Exhibit 9, excerpts of           Meta
      11                    Bosworth Deposition              (Acharya
21                          Transcript, 174:1-8              Decl. Row
                                                             168)
22
      646-    Exhibit P3    Exhibit 10, excerpts of          Meta
23    12                    Goldman Deposition               (Acharya
                            Transcript, 26:19-22             Decl. Row
24
                                                             169)
25    646-    Exhibit P4    Exhibit 11, excerpts of          Meta
      13                    Baser Deposition                 (Acharya
26
                            Transcript, 275:8-13             Decl. Row
27                                                           170)

28

     No. 3:20-cv-08570-JD                             -29-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                    TO SEAL MATERIALS SUBMITTED IN
                                                                     CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 31 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                   Designating
                Decl.       Document Sought to Be                                   Ruling
 2    No.                                                      Party
               Exhibit            Sealed
 3    646-    Exhibit P4    Exhibit 11, excerpts of          Meta
      13                    Baser Deposition                 (Acharya
 4
                            Transcript, 278:22-23            Decl. Row
 5                                                           171)
      646-    Exhibit P4    Exhibit 11, excerpts of          Meta
 6
      13                    Baser Deposition                 (Acharya
 7                          Transcript, 279:5-17             Decl. Row
                                                             172)
 8
          Administrative Motion to File Under Seal Certain Exhibits to the Supplemental
 9     Declaration of David Z. Gringer in Support of Meta’s Motion to Exclude the Testimony
                               of Nicholas Economides (Dkt. No. 655)
10
      655-    Exhibit Q1    Exhibit 8, excerpts of           Meta
11    3                     Zuckerberg Deposition            (Acharya
                            Transcript, Pages 52-53          Decl. Row
12                                                           173)
13    655-    Exhibit Q2    Exhibit 9, excerpts of           Meta
      4                     Baser Deposition                 (Acharya
14                          Transcript, 269:24-273:25        Decl. Row
                                                             174)
15
      655-    Exhibit Q3    Exhibit 11, excerpts of          Users
16    6                     Sarah Grabert Deposition         (Scarlett Decl.
                            Transcript, 236:5                ¶ 3) (PII)
17
          Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Motion to
18                         Exclude Dr. Catherine Tucker (Dkt. No. 659)

19    659-    Exhibit CC1 Motion to Exclude Dr.              Meta
      1                   Catherine Tucker, n. 55.           (Acharya
20                                                           Decl. Row
                                                             204) (same
21                          Meta’s sealing position
                                                             basis)
                            for this document is
22                          indicated in red
                            highlighting. The yellow
23                          highlighting may be
                            disregarded.
24
      659-    Exhibit CC2 Exhibit 7, Excerpts of             Meta
25    9                   Schultz Deposition                 (Acharya
                          Transcript                         Decl. Row
26
                                                             204) (same
27                                                           basis)
          Interim Administrative Motion to File Under Seal Opposition to Meta’s Motion to
28
                 Exclude Testimony of Scott Fasser and Joshua Gans (Dkt. No. 667)
     No. 3:20-cv-08570-JD                             -30-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                     TO SEAL MATERIALS SUBMITTED IN
                                                                      CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 32 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                Designating
                Decl.       Document Sought to Be                               Ruling
 2    No.                                                   Party
               Exhibit            Sealed
 3    667-    Exhibit R1    Advertisers’ Opp to           Meta
      1                     Motion to Exclude             (Acharya
 4
                            Testimony of Fasser,          Decl. Row
 5                          1:20-24, between “(Ex. 1,     175)
                            ¶¶ 6-7)” and “Id., ¶¶ 7-
 6                          11”
 7    667-    Exhibit R1    Advertisers’ Opp to           Meta
      1                     Motion to Exclude             (Acharya
 8                          Testimony of Fasser,          Decl. Row
                            5:18-21                       176)
 9
      667-    Exhibit R1    Advertisers’ Opp to           Meta
10    1                     Motion to Exclude             (Acharya
                            Testimony of Fasser, 6:1-     Decl. Row
11                          4                             177)
12    667-    Exhibit R1    Advertisers’ Opp to           Meta
      1                     Motion to Exclude             (Acharya
13                          Testimony of Fasser, 6:6-     Decl. Row
                            7                             178)
14
      667-    Exhibit R1    Advertisers’ Opp to           Meta
15    1                     Motion to Exclude             (Acharya
                            Testimony of Fasser,          Decl. Row
16
                            7:24-8:2                      179)
17    667-    Exhibit R2    Exhibit 3                     Meta
      4                                                   (Acharya
18
                                                          Decl. Row
19                                                        180)
      667-    Exhibit R3    Exhibit 5                     Meta
20
      6                                                   (Acharya
21                                                        Decl. Row
                                                          181)
22
      667-    Exhibit R4    Exhibit 6                     Meta
23    7                                                   (Acharya
                                                          Decl. Row
24                                                        182)
25    667-    Exhibit R5    Exhibit 7                     Meta
      8                                                   (Acharya
26                                                        Decl. Row
                                                          183)
27
      667-    Exhibit R6    Exhibit 8                     Meta
28    9                                                   (Acharya

     No. 3:20-cv-08570-JD                          -31-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 33 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                  Designating
                Decl.       Document Sought to Be                                  Ruling
 2    No.                                                     Party
               Exhibit            Sealed
 3                                                          Decl. Row
                                                            184)
 4
      Interim Administrative Motion to File Under Seal Opposition to Users’ Motion for Class
 5                  Certification and Accompanying Exhibits (Dkt. No. 669)
 6    669-    Exhibit S1    Meta’s Opp to Users’            Meta
      1                     Motion for Class Cert,          (Acharya
 7                          8:27-9:3                        Decl. Row
                                                            185)
 8
      669-    Exhibit S3    Exhibit 3, excerpts of          Users
 9    4                     Klein Deposition                (Scarlett Decl.
                            Transcript, 212:9-25            ¶ 3) (PII)
10
      669-    Exhibit S2    Exhibit 12                      Meta
11    13                                                    (Acharya
                                                            Decl. Row
12                                                          186)
13      Interim Administrative Motion to File Under Seal Opposition to Advertiser Plaintiffs'
              Motion for Class Certification and Accompanying Exhibits (Dkt. No. 671)
14
      671-    Exhibit T1    Meta Opp to Advertisers’        Meta
15    1                     Class Cert Motion, 7:4-6        (Acharya
                                                            Decl. Row
16                                                          187)
17    671-    Exhibit T1    Meta Opp to Advertisers’        Meta
      1                     Class Cert Motion, 15:12        (Acharya
18                          from “Custom” to “class         Decl. Row
                            period”                         188)
19
      671-    Exhibit T1    Meta Opp to Advertisers’        Meta
20    1                     Class Cert Motion, 15:20        (Acharya
                            from “was associated” to        Decl. Row
21
                            “spend”                         189)
22    671-    Exhibit T1    Meta Opp to Advertisers’        Meta
      1                     Class Cert Motion, 15:22        (Acharya
23
                            from “made up” to “class        Decl. Row
24                          period”                         190)
      671-    Exhibit T1    Meta Opp to Advertisers’        Meta
25
      1                     Class Cert Motion, 24:11-       (Acharya
26                          12, between “among              Decl. Row
                            others” and “The named          19) (same
27                          plaintiffs.”                    basis)

28

     No. 3:20-cv-08570-JD                            -32-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                    TO SEAL MATERIALS SUBMITTED IN
                                                                     CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 34 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                  Designating
                Decl.       Document Sought to Be                                 Ruling
 2    No.                                                     Party
               Exhibit            Sealed
 3    671-    Exhibit T1    Meta Opp to Advertisers’        Vanderslice
      1                     Class Cert Motion, 24:12,       Decl. Ex. A8,
 4
                            reference to party              ¶5
 5    671-    Exhibit T2    Exhibit 1, excerpts of          Meta
      2                     Fasser Deposition               (Acharya
 6
                            Transcript, 145:20-146:14       Decl. Row
 7                                                          191)
      671-    Exhibit T2    Exhibit 1, excerpts of          Meta
 8
      2                     Fasser Deposition               (Acharya
 9                          Transcript, 148:2-5             Decl. Row
                                                            192)
10
      671-    Exhibit T3    Exhibit 2, Advertiser           Meta
11    3                     Plaintiffs’ Corrected First     (Acharya
                            Supp Responses and              Decl. Row
12                          Objections                      193)
13    671-    Exhibit T4    Exhibit 9, Excerpts of          Meta
      10                    Williams Deposition             (Acharya
14                          Transcript, 88:3-89:25          Decl. Row
                                                            194)
15
      671-    Exhibit T4    Exhibit 9, Excerpts of          Meta
16    10                    Williams Deposition             (Acharya
                            Transcript, 115:1-5             Decl. Row
17                                                          195)
18    671-    Exhibit T4    Exhibit 9, Excerpts of          Meta
      10                    Williams Deposition             (Acharya
19                          Transcript, 157:4-14            Decl. Row
                                                            196)
20
      671-    Exhibit T4    Exhibit 9, Excerpts of          Meta
21    10                    Williams Deposition             (Acharya
                            Transcript, 163:2-7             Decl. Row
22
                                                            197)
23    Interim Administrative Motion to File Under Seal Materials ISO Consumers’ Opposition
         to Facebook's Motion to Exclude Testimony of Nicholas Economides (Dkt. No. 673)
24
      673-    Exhibit U1    Consumers’ Opp to               Meta
25    1                     Motion to Exclude               (Acharya
                            Testimony of Nicholas           Decl. Row
26
                            Economides, 3:9-17              198)
27    673-    Exhibit U2    Exhibit 8, PX-0046              Meta
      4                     Fernandes Deposition            (Acharya
28

     No. 3:20-cv-08570-JD                            -33-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                   TO SEAL MATERIALS SUBMITTED IN
                                                                    CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 35 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                                   Designating
                Decl.       Document Sought to Be                                  Ruling
 2    No.                                                      Party
               Exhibit            Sealed
 3                                                           Decl. Row
                                                             199)
 4
      673-    Exhibit U3    Exhibit 9, PX-1097 Levy          Meta
 5    5                     Deposition                       (Acharya
                                                             Decl. Row
 6                                                           200)
 7    673-    Exhibit U4    Exhibit 10, PX-2423 Egan Meta
      6                     Deposition               (Acharya
 8                                                   Decl. Row
                                                     201)
 9
      673-    Exhibit U5    Exhibit 11, PX-2214              Meta
10    7                     Naveh Deposition                 (Acharya
                                                             Decl.
11
                                                             Row202)
12    673-    Exhibit U6    Exhibit 12, Excerpts from        Meta
      8                     PX-2254 Zuckerberg               (Acharya
13
                            Deposition PALM-                 Decl. Row
14                          013818575                        203)
         Interim Administrative Motion to File Under Seal Meta’s Opposition to Advertiser
15
                       Plaintiffs’ Motion to Exclude Tucker (Dkt. No. 675)
16    675-    Exhibit V2    Meta’s Opposition to             Meta
      1                     Advertiser Plaintiffs’           (Acharya
17
                            Motion to Exclude                Decl. Row
18                          Tucker, 8:21-23, between         204) (same
                            “explained that” and “Ex.        basis)
19                          10”
20    675-    Exhibit V2    Meta’s Opposition to             Meta
      1                     Advertiser Plaintiffs’           (Acharya
21                          Motion to Exclude                Decl. Row 3)
                            Tucker, 3:8, 3:9, 3:11,          (same basis)
22                          3:13, 3:18, 6:10, 6:12
                            (percentages)
23
      675-    Exhibit V     Exhibit 10, Excerpts of          Meta
24    11                    Schultz Deposition               (Acharya
                            Transcript                       Decl. Row
25
                                                             204)
26      Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Opposition to
                 Meta’s Motion to Exclude Kreitzman and Williams (Dkt. No. 679)
27
      679-    Exhibit W1    Exhibit 12                       Meta
28    5                                                      (Acharya
     No. 3:20-cv-08570-JD                             -34-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                    TO SEAL MATERIALS SUBMITTED IN
                                                                     CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 36 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                               Designating
                Decl.       Document Sought to Be                              Ruling
 2    No.                                                  Party
               Exhibit            Sealed
 3                                                       Decl. Row
                                                         205)
 4
      679-    Exhibit W2    Exhibit 13                   Meta
 5    6                                                  (Acharya
                                                         Decl. Row
 6                                                       206)
 7     Interim Administrative Motion to File Under Seal Meta’s Reply ISO Motion to Exclude
                                 Fasser and Gans (Dkt. No. 683)
 8
      683-    Exhibit X     Exhibit 16, Excerpts from    Meta
 9    4                     the Gans Deposition          (Acharya
                            Transcript, 275:14-16        Decl. Row
10                                                       207)
11    683-    Exhibit X2    Exhibit 17 to Meta’s         Snap Inc.
      5                     Reply in Support of          (Karin Decl. ¶
12                          Meta’s Motion to Exclude     10; Ex. 1)
                            Testimony of Scott Fasser
13
                            and Joshua Gans, page
14                          SNAP- FTC - No. 191-
                            0134- 0000033086, third
15                          column of table (from
                            left)
16
      683-    Exhibit X2    Exhibit 17 to Meta’s         Snap Inc.
17    5                     Reply in Support of          (Karin Decl. ¶
                            Meta’s Motion to             10; Ex. 1)
18
                            Exclude Testimony of
19                          Scott Fasser and Joshua
                            Gans, page SNAP- FTC -
20                          No. 191-0134-
                            0000033087, second
21                          column of table (from
                            left)
22
      683-    Exhibit X2    Exhibit 17 to Meta’s         Snap Inc.
23    5                     Reply in Support of          (Karin Decl. ¶
                            Meta’s Motion to             10; Ex. 1)
24
                            Exclude Testimony of
25                          Scott Fasser and Joshua
                            Gans, page SNAP- FTC -
26                          No. 191-0134-
                            0000033088, second
27
                            column of table (from
28                          left)

     No. 3:20-cv-08570-JD                         -35-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 37 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                               Designating
                Decl.       Document Sought to Be                              Ruling
 2    No.                                                  Party
               Exhibit            Sealed
 3       Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Reply ISO
                          Motion for Class Certification (Dkt. No. 688)
 4
      688-    Exhibit Y1    Exhibit 6, Excerpts from     Meta
 5    5                     the 30(b)(1) Deposition of   (Acharya
                            Alex Schultz                 Decl. Row
 6
                                                         208)
 7    688-    Exhibit Y2    Exhibit 8, PALM-             Meta
      7                     003309653                    (Acharya
 8
                                                         Decl. Row
 9                                                       209)
      688-    Exhibit Y3    Exhibit 9, PALM-             Meta
10
      8                     005037545                    (Acharya
11                                                       Decl. Row
                                                         210)
12
      688-    Exhibit Y4    Exhibit 10, PALM-            Meta
13    9                     013912488                    (Acharya
                                                         Decl. Row
14                                                       211)

15    688-    Exhibit Y5    Exhibit 11, PALM-            Meta
      10                    000777305                    (Acharya
16                                                       Decl. Row
                                                         212)
17
      Interim Administrative Motion to File Under Seal Reply in Support of Meta’s Motion to
18     Exclude the Testimony of Nicholas Economides and Accompanying Exhibits (Dkt. No.
                                              694)
19
      694-    Exhibit Z     Meta’s Reply ISO Meta’s      Meta
20    1                     Motion to Exclude the        (Acharya
                            Testimony of Nicholas        Decl. Row
21                          Economides, 4:23-24,         213)
                            between “was” and
22
                            “offers”
23    694-    Exhibit Z     Meta’s Reply ISO Meta’s      Meta
      1                     Motion to Exclude the        (Acharya
24
                            Testimony of Nicholas        Decl. Row
25                          Economides, 5:8-25           214)
                            (quotations from PALM
26                          Bates-stamped
                            documents)
27

28

     No. 3:20-cv-08570-JD                         -36-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 38 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                             Designating
                Decl.       Document Sought to Be                             Ruling
 2    No.                                                Party
               Exhibit            Sealed
 3    Interim Administrative Motion to File Under Seal Consumer Plaintiffs’ Reply In Further
       Support of Motion for Class Certification and Appointment of Class Counsel (Dkt. No.
 4
                                                696)
 5    696-    Exhibit BB1 Exhibit 7 to the             Users
      10                  Declaration of Kevin Y.      (Scarlett Decl.
 6
                          Teruya in Support of         ¶ 3) (PII)
 7                        Consumer Plaintiffs’
                          Reply In Further Support
 8                        of Motion for Class
                          Certification and
 9                        Appointment of Class
                          Counsel, Deposition
10
                          Transcript of Maximilian
11                        Klein dated May 31, 2023
                          at 10:13–16
12
      696-    Exhibit BB1 Exhibit 7 to the             Users
13    10                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
14                        Consumer Plaintiffs’
                          Reply In Further Support
15                        of Motion for Class
16                        Certification and
                          Appointment of Class
17                        Counsel, Deposition
                          Transcript of Maximilian
18                        Klein dated May 31, 2023
                          at 212:9–213:16
19
      696-    Exhibit BB1 Exhibit 7 to the             Users
20    10                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
21                        Consumer Plaintiffs’
22                        Reply In Further Support
                          of Motion for Class
23                        Certification and
                          Appointment of Class
24                        Counsel, Deposition
                          Transcript of Maximilian
25                        Klein dated May 31, 2023
26                        at 222:3–6
      696-    Exhibit BB2 Exhibit 8 to the             Users
27    11                  Declaration of Kevin Y.      (Scarlett Decl.
28                        Teruya in Support of         ¶ 3) (PII)
                          Consumer Plaintiffs’
     No. 3:20-cv-08570-JD                       -37-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                               TO SEAL MATERIALS SUBMITTED IN
                                                                CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 39 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                              Designating
                Decl.        Document Sought to Be                             Ruling
 2    No.                                                 Party
               Exhibit                 Sealed
 3                          Reply In Further Support
                            of Motion for Class
 4                          Certification and
                            Appointment of Class
 5
                            Counsel, Deposition
 6                          Transcript of Sarah
                            Grabert dated April 24,
 7                          2023 at 11:2–3
 8    696-    Exhibit BB2 Exhibit 8 to the              Users
      11                  Declaration of Kevin Y.       (Scarlett Decl.
 9                        Teruya in Support of          ¶ 3) (PII)
                          Consumer Plaintiffs’
10                        Reply In Further Support
11                        of Motion for Class
                          Certification and
12                        Appointment of Class
                          Counsel, Deposition
13                        Transcript of Sarah
                          Grabert dated April 24,
14                        2023 at 126:20–127:11
15    696-    Exhibit BB2 Exhibit 8 to the              Users
      11                  Declaration of Kevin Y.       (Scarlett Decl.
16                        Teruya in Support of          ¶ 3) (PII)
17                        Consumer Plaintiffs’
                          Reply In Further Support
18                        of Motion for Class
                          Certification and
19                        Appointment of Class
                          Counsel, Deposition
20                        Transcript of Sarah
21                        Grabert dated April 24,
                          2023 at 131:24–132:11
22    696-    Exhibit BB2 Exhibit 8 to the              Users
23    11                  Declaration of Kevin Y.       (Scarlett Decl.
                          Teruya in Support of          ¶ 3) (PII)
24                        Consumer Plaintiffs’
                          Reply In Further Support
25                        of Motion for Class
                          Certification and
26
                          Appointment of Class
27                        Counsel, Deposition
                          Transcript of Sarah
28

     No. 3:20-cv-08570-JD                        -38-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                TO SEAL MATERIALS SUBMITTED IN
                                                                 CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 40 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                             Designating
                Decl.        Document Sought to Be                            Ruling
 2    No.                                                Party
               Exhibit               Sealed
 3                          Grabert dated April 24,
                            2023 at 140:16–141:23
 4
      696-    Exhibit BB2 Exhibit 8 to the             Users
 5    11                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
 6                        Consumer Plaintiffs’
                          Reply In Further Support
 7
                          of Motion for Class
 8                        Certification and
                          Appointment of Class
 9                        Counsel, Deposition
                          Transcript of Sarah
10                        Grabert dated April 24,
11                        2023 at 143:21–144:13
      696-    Exhibit BB2 Exhibit 8 to the             Users
12    11                  Declaration of Kevin Y.      (Scarlett Decl.
13                        Teruya in Support of         ¶ 3) (PII)
                          Consumer Plaintiffs’
14                        Reply In Further Support
                          of Motion for Class
15                        Certification and
                          Appointment of Class
16                        Counsel, Deposition
17                        Transcript of Sarah
                          Grabert dated April 24,
18                        2023 at 236:5

19    696-    Exhibit BB2 Exhibit 8 to the             Users
      11                  Declaration of Kevin Y.      (Scarlett Decl.
20                        Teruya in Support of         ¶ 3) (PII)
                          Consumer Plaintiffs’
21                        Reply In Further Support
                          of Motion for Class
22                        Certification and
23                        Appointment of Class
                          Counsel, Deposition
24                        Transcript of Sarah
                          Grabert dated April 24,
25                        2023 at 341:17–20
26    696-    Exhibit BB2 Exhibit 8 to the             Users
      11                  Declaration of Kevin Y.      (Scarlett Decl.
27                        Teruya in Support of         ¶ 3) (PII)
                          Consumer Plaintiffs’
28
                          Reply In Further Support
     No. 3:20-cv-08570-JD                       -39-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                               TO SEAL MATERIALS SUBMITTED IN
                                                                CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 41 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                             Designating
                Decl.        Document Sought to Be                            Ruling
 2    No.                                                Party
               Exhibit                 Sealed
 3                          of Motion for Class
                            Certification and
 4                          Appointment of Class
                            Counsel, Deposition
 5
                            Transcript of Sarah
 6                          Grabert dated April 24,
                            2023 at 342:11–15
 7
      696-    Exhibit BB2 Exhibit 8 to the             Users
 8    11                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
 9                        Consumer Plaintiffs’
                          Reply In Further Support
10                        of Motion for Class
11                        Certification and
                          Appointment of Class
12                        Counsel, Deposition
                          Transcript of Sarah
13                        Grabert dated April 24,
                          2023 at 354:18–355:20
14
      696-    Exhibit BB3 Exhibit 9 to the             Users
15    12                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
16                        Consumer Plaintiffs’
17                        Reply In Further Support
                          of Motion for Class
18                        Certification and
                          Appointment of Class
19                        Counsel, Deposition
                          Transcript of Rachel
20                        Banks Kupcho dated May
21                        22, 2023 at 48:23–49:6
      696-    Exhibit BB3 Exhibit 9 to the             Users
22    12                  Declaration of Kevin Y.      (Scarlett Decl.
23                        Teruya in Support of         ¶ 3) (PII)
                          Consumer Plaintiffs’
24                        Reply In Further Support
                          of Motion for Class
25                        Certification and
                          Appointment of Class
26
                          Counsel, Deposition
27                        Transcript of Rachel
                          Banks Kupcho dated May
28                        22, 2023 at 97:18–20

     No. 3:20-cv-08570-JD                       -40-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                               TO SEAL MATERIALS SUBMITTED IN
                                                                CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 42 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                             Designating
                Decl.       Document Sought to Be                             Ruling
 2    No.                                                Party
               Exhibit            Sealed
 3    696-    Exhibit BB3 Exhibit 9 to the             Users
      12                  Declaration of Kevin Y.      (Scarlett Decl.
 4
                          Teruya in Support of         ¶ 3) (PII)
 5                        Consumer Plaintiffs’
                          Reply In Further Support
 6                        of Motion for Class
                          Certification and
 7                        Appointment of Class
                          Counsel, Deposition
 8
                          Transcript of Rachel
 9                        Banks Kupcho dated May
                          22, 2023 at 179:17–18
10
      696-    Exhibit BB3 Exhibit 9 to the             Users
11    12                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
12                        Consumer Plaintiffs’
                          Reply In Further Support
13                        of Motion for Class
14                        Certification and
                          Appointment of Class
15                        Counsel, Deposition
                          Transcript of Rachel
16                        Banks Kupcho dated May
                          22, 2023 at 188:6–7
17
      696-    Exhibit BB3 Exhibit 9 to the             Users
18    12                  Declaration of Kevin Y.      (Scarlett Decl.
                          Teruya in Support of         ¶ 3) (PII)
19                        Consumer Plaintiffs’
20                        Reply In Further Support
                          of Motion for Class
21                        Certification and
                          Appointment of Class
22                        Counsel, Deposition
                          Transcript of Rachel
23                        Banks Kupcho dated May
24                        22, 2023 at 188:14–18
      696-    Exhibit BB3 Exhibit 9 to the             Users
25    12                  Declaration of Kevin Y.      (Scarlett Decl.
26                        Teruya in Support of         ¶ 3) (PII)
                          Consumer Plaintiffs’
27                        Reply In Further Support
                          of Motion for Class
28                        Certification and

     No. 3:20-cv-08570-JD                       -41-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                               TO SEAL MATERIALS SUBMITTED IN
                                                                CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 43 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                               Designating
                Decl.        Document Sought to Be                              Ruling
 2    No.                                                  Party
               Exhibit               Sealed
 3                          Appointment of Class
                            Counsel, Deposition
 4                          Transcript of Rachel
                            Banks Kupcho dated May
 5
                            22, 2023 at 188:25–189:7
 6    696-    Exhibit BB3 Exhibit 9 to the               Users
      12                  Declaration of Kevin Y.        (Scarlett Decl.
 7
                          Teruya in Support of           ¶ 3) (PII)
 8                        Consumer Plaintiffs’
                          Reply In Further Support
 9                        of Motion for Class
                          Certification and
10                        Appointment of Class
11                        Counsel, Deposition
                          Transcript of Rachel
12                        Banks Kupcho dated May
                          22, 2023 at 189:11–14
13
      696-    Exhibit BB3 Exhibit 9 to the               Users
14    12                  Declaration of Kevin Y.        (Scarlett Decl.
                          Teruya in Support of           ¶ 3) (PII)
15                        Consumer Plaintiffs’
                          Reply In Further Support
16                        of Motion for Class
17                        Certification and
                          Appointment of Class
18                        Counsel, Deposition
                          Transcript of Rachel
19                        Banks Kupcho dated May
                          22, 2023 at 190:7–191:5
20
      Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Corrected Reply
21                      ISO Motion for Class Certification (Dkt. No. 699)
22    699-    Exhibit       Exhibit 6, Excerpts from     Meta
      5       AA1           the 30(b)(1) Deposition of   (Acharya
23                          Alex Schultz                 Decl. Row
                                                         215)
24
      699-    Exhibit       Exhibit 8, PALM-             Meta
25    7       AA2           003309653                    (Acharya
                                                         Decl. Row
26                                                       216)
27    699-    Exhibit       Exhibit 9, PALM-             Meta
      8       AA3           005037545                    (Acharya
28

     No. 3:20-cv-08570-JD                         -42-      [PROPOSED] ORDER RE OMNIBUS MOTION
                                                                 TO SEAL MATERIALS SUBMITTED IN
                                                                  CLASS CERT. & DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-36 Filed 11/21/23 Page 44 of 44




 1            Vanderslice   Document or Portion of
      Dkt.                                             Designating
                Decl.       Document Sought to Be                                Ruling
 2    No.                                                Party
               Exhibit            Sealed
 3                                                     Decl. Row
                                                       217)
 4
      699-    Exhibit       Exhibit 10, PALM-          Meta
 5    9       AA4           013912488                  (Acharya
                                                       Decl. Row
 6                                                     218)
 7    699-    Exhibit       Exhibit 11, PALM-          Meta
      10      AA5           000777305                  (Acharya
 8                                                     Decl. Row
                                                       219)
 9

10

11

12

13

14
     Dated: __________________, _____
15                                                     Honorable James Donato
                                                       United States District Court Judge
16                                                     Northern District of California
17

18

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23

24

25

26

27

28

     No. 3:20-cv-08570-JD                       -43-     [PROPOSED] ORDER RE OMNIBUS MOTION
                                                              TO SEAL MATERIALS SUBMITTED IN
                                                               CLASS CERT. & DAUBERT BRIEFING
